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                            THE UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION

In re:                                                  *       CHAPTER 7
                                                        *
THE G2G COLLECTION, LLC                                 *       CASE NO. 20-66554-BEM
                                                        *
Debtor.                                                 *       JUDGE BARBARA ELLIS-MONRO
                                                        *
                                                        *

                              NOTICE OF PROPOSED ABANDONMENT

       In accordance with Fed. R. Bank. P. 6007, the Trustee hereby gives NOTICE of the
proposed abandonment of the following described property:

          All personal property, equipment and office furniture, including, without limitation, all used
          office desks, chairs, file cabinets, TV monitor, and all other business furniture, fixtures and
          equipment.
          All other documents, books and records located at Debtor’s former place of business.

         The Trustee believes such property is of no value to the Estate. Any objection by a party in
interest shall be made in writing and filed with the Clerk of this Court at 1340 Russell Federal
Building, 75 Ted Turner Drive, S.W., Atlanta, Georgia, 30303 and a copy served on the Trustee
within fourteen (14) days from the date of the mailing of this Notice. If no written objection is filed
within fifteen (15) days, the property shall be deemed abandoned without further hearing or Order
of this Court.

Dated: July 9, 2020.                                          \s\ Edwin K. Palmer
                                                              Edwin K. Palmer
                                                              Chapter 7 Trustee
                                                              GA Bar No. 560100


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